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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


JAMES ANAQUAD KLEINERT,

               Plaintiff,

       v.                                                Civil Action No. 24-0934 (TSC)

BUREAU OF LAND MANAGEMENT,

               Defendant.


                                  JOINT STATUS REPORT

       James Anaquad Kleinert (“Plaintiff”) and the United States Bureau of Land Management

(“Defendant”), through undersigned counsel, file this joint status report in accordance with the

Court’s May 3, 2024, Minute Order.

       This is a case under the Freedom of Information Act, 5 U.S.C. § 552.

       1.      Status of Plaintiff's FOIA Request

       Defendant provided responsive records prior to the filing of this action, and Plaintiff seeks

additional non-exempt responsive records for this FOIA request. The parties are in the early stages

of conferring as to any agency follow-up actions, including whether there is a need for identifying

additional searches and to further discuss the parties objections to withholdings for Plaintiff’s

September 9, 2022 FOIA request at issue in this action. The parties, by and through their

undersigned counsel, are working to reduce and / or eliminate any contested issues.

       2.      Anticipated number of documents responsive to Plaintiff's FOIA Request

       Defendant BLM has produced 25 pages of responsive records to date to Plaintff for the

FOIA request at issue. The parties are conferring as to whether there may be any additional

nonexempt responsive records.
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       3.      Anticipated date(s) for release of the documents requested by Plaintiff

       See above. Defendant produced responsive records on January 19, 2023, and April 11,

2023. The parties have not yet reached agreement as to whether the agency will be completing

any additional searches and releases at this time.

       4.      Whether a motion for an Open America stay is likely in this case

       A motion for an Open American stay is unnecessary.

       5.      Whether a Vaughn index will be required in this case

       A Vaughn index may be required. The parties have not yet determined when a Vaughn

index should be prepared in this action, but agree that it may be helpful to identify the basis for the

agency’s search and withholding actions.

       6.      Whether and when either party anticipates filing a dispositive motion

       The parties respectfully request that the Court not set a summary judgment briefing

schedule at this time, and instead allow the parties more time to try to work together to addresss

the remaining issues in this action, without the Court’s involvement.

       7.      Any other pertinent issues

       The parties respectfully request that they be allowed to file another joint status report.

Plaintiff would like to set the next joint status report for 30 days. Defendant would like to set the

next joint status report for 60 days.




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Date: June 14, 2024                    Respectfully submitted,

/s/Maya Kane                           MATTHEW M. GRAVES, D.C. Bar # 481052
SOUTHWEST WATER AND                    United States Attorney
PROPERTY LAW LLC,
D.D.C. Bar # CO0089                    BRIAN P. HUDAK
10 Town Square, No. 422                Chief, Civil Division
Durango, CO 81301
(970) 946-5419                         By:          /s/ Sam Escher
mkane@swpropertylaw.com                       SAM ESCHER, D.C. Bar # 1655538
                                              Assistant United States Attorney
Attorney for Plaintiff                        601 D Street, N.W.
                                              Washington, D.C. 20530
                                              (202) 252-2531
                                              Sam.Escher@usdoj.gov

                                       Attorneys for United States of America




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